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                       UNITED STATES DISTRICT CO
                     SOUTHERN DISTRICT OF CALIFO


UNITED STATES OF AMERICA,                   CASE NO. l2C

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
MARIA A. VEGA-SALAZAR (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 x __ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the           fendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Information:

     3lUSC5332 (a); l8USC2i 3lUSC53l7 (c) (1) AND 5332 (a) (1) AND (b) (2) ­

     BULK CASH SMUGGLING; AIDING AND ABETTING; CRIMINAL FORFEITURE

          IT IS THEREFORE ADJUDGED
                                       tha/ll:~ebY ~SCharged'
DATED: JULY 3, 2012
                                            Mitchell D. Dembin
                                            U.S. Magistrate Judge
